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 EXHIBIT E
3/26/23, 6:13 PM          Case 1:22-cv-02235-JEB           Document
                                     Bank to Pay $3.5 Million               29-7
                                                              in Debt Collection     Filed
                                                                                 Lawsuit | Los 03/27/23
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                                                         Los Angeles County District Attorney George Gascón announced today that Synchrony Bank will
                                                         pay $3.5 million to settle a civil lawsuit alleging the company made unreasonably frequent or
      Media Relations
                                                         harassing phone calls to debtors in California.

      211 West Temple Street                             “Repeated phone calls from debt collectors intended to annoy, abuse or harass consumers is illegal
      Suite 1200                                         and wrong,” District Attorney Gascón said.
      Los Angeles, CA 90012
                                                         Under a judgment negotiated with the Utah-headquartered company, entered on November 9 in
      Phone: (213) 257-2000
                                                         the Los Angeles Superior Court and signed by Judge Rupert A. Byrdsong, Synchrony was ordered to
                                                         pay a total of $3.5 million:

                                                         • $2 million in civil penalties, $500,000 to each of the four District Attorney’s offices involved;
      News Releases
                                                         • $975,000 in investigative costs;
      2023                                               • $525,000 in restitution to be distributed to a nonprofit charitable organization to support work
      January      February    March                     that advances the public interest.

                                                         Under the settlement, Synchrony must implement and maintain policies and procedures to prevent
      Years
                                                         harassing debt collection calls for four years after the judgment date. The federal savings
      2020         2021        2022                      association bank did not admit wrongdoing.
      2023
                                                         Beginning in 2014, Synchrony engaged in unlawful debt collection activities from call centers in and
                                                         outside the United States, according to the complaint. The bank continued to make such illegal
                                                         calls to alleged debtors when those consumers indicated they no longer wished to receive the calls,
                                                         the complaint said.

                                                         The Los Angeles County District Attorney’s Consumer Protection Division led the investigation and
                                                         prosecution as part of the Debt Collection Task Force, which includes San Diego, Santa Clara and
                                                         Riverside county district attorney’s offices.




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